                   Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 1 of 9




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 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8
                                         AT SEATTLE
 9
10   UNITED STATES OF AMERICA,                                    NO. CV21-1625
11                            Plaintiff,
12                      v.                                         VERIFIED COMPLAINT
                                                                   FOR FORFEITURE IN REM
13
     $15,550.50 IN UNITED STATES FUNDS
14   SEIZED FROM CITIBANK ACCOUNT
     ENDING IN -9724, AND ANY ACCRUED
15
     INTEREST,
16
     $13,791.04 IN UNITED STATES FUNDS
17
     SEIZED FROM BANK OF AMERICA
18   ACCOUNT ENDING IN -8376, AND ANY
     ACCRUED INTEREST,
19
20   and,
21
     $583.13 IN UNITED STATES FUNDS
22   SEIZED FROM WELLS FARGO BANK
23   ACCOUNT ENDING IN -4200, AND ANY
     ACCRUED INTEREST,
24
                                 Defendants.
25
26
27 //
28

     Verified Complaint for Forfeiture in Rem - 1                                  UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
                                                                                    SEATTLE, WASHINGTON 98101
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                   Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 2 of 9




 1          COMES NOW the United States, by and through its undersigned counsel, and
 2 alleges:
 3                                   I.       NATURE OF THE ACTION
 4          1.       This is a civil in rem action for the forfeiture of the following property
 5 (collectively, “Defendant Funds”) seized by the Federal Bureau of Investigation (“FBI”):
 6                   a.     $15,550.50 in United States funds seized from Citibank account
 7                          ending in -9724, held in the name of C.H., and any accrued interest;
 8                   b.     $13,791.04 in United States funds seized from Bank of America
 9                          account ending in -8376, held in the name of C.H., and any accrued
10                          interest; and
11                   c.     $583.13 in United States funds seized from Wells Fargo Bank account
12                          ending in -4200, held in the name of C.H., and any accrued interest.
13                             II.        LEGAL BASIS FOR FORFEITURE
14          2.       The Defendant Funds are forfeitable pursuant to 18 U.S.C. §§ 981(a)(1)(A)
15 and 981(a)(1)(C) for violations of 18 U.S.C. §§ 1343 (wire fraud), 1956(a)(1)(B)(i)
16 (money laundering), and 1956(h) (money laundering conspiracy). Specifically, counsel
17 for the United States has a reasonable belief the government will be able to prove, to a
18 preponderance at trial, that the Defendant Funds represent proceeds from the commission
19 of wire fraud and/or property involved in the commission of money laundering and/or a
20 conspiracy to commit money laundering.
21          3.       The Defendant Funds are also forfeitable pursuant to 18 U.S.C. § 984
22 because they constitute funds deposited in an account in a financial institution, which are
23 identical to, and found in the same account as, the property involved in the offense that is
24 the basis for the forfeiture, and because the United States has commenced this action
25 within one year of the offense giving rise to forfeiture.
26                                   III.     JURISDICTION AND VENUE
27          4.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1345
28 (United States is plaintiff) and 1355(a) (action for forfeiture).

     Verified Complaint for Forfeiture in Rem - 2                                  UNITED STATES ATTORNEY
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     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
                   Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 3 of 9




 1          5.       Venue is proper in this Court pursuant to 28 U.S.C. § 1355(b)(1)(A) (acts
 2 giving rise to the forfeiture occurred in this district).
 3          6.       FBI took custody of the Defendant Funds pursuant to seizure warrants
 4 issued in the Western District of Washington under the following cause numbers:
 5 MC21- 05014-DWC, MC21-05013-DWC, and MC21-05016-DWC, executed on May 26
 6 and 27, 2021. The funds remain in FBI’s custody.
 7          7.       As provided in Supplemental Rule G(3)(b)(i), the Clerk of Court is required
 8 to issue a warrant to arrest the Defendant Funds if they are in the government’s
 9 possession, custody, or control. As such, the Court will have in rem jurisdiction over the
10 Defendant Funds when the accompanying Warrant of Arrest in Rem is issued, executed,
11 and returned to the Court.
12                           IV.      FACTUAL BASIS FOR FORFEITURE
13 A.       Underlying Specified Unlawful Activity
14          8.       In May of 2021, victims R.S. and J.S. (collectively, the “Victims”),
15 residents of Puyallup, Washington, in the Western District of Washington, were
16 preparing to close on a home purchase.
17          9.       On May 18, 2021, the Victims received an email from a sender they
18 believed to be affiliated with the title company they were using in the transaction. The
19 email contained wiring instructions and directed the Victims to wire $358,136.74 to
20 Chase bank account ending in -5537, in the name of R.C., a resident of Eunice, New
21 Mexico. The Victims took the wire instructions to their credit union and processed the
22 transfer. The credit union sent the funds that day.
23          10.      After further discussion with the title company, the Victims learned that
24 R.C. was not affiliated with the title company, and that the Victims had been targets of
25 wire fraud. The Victims contacted FBI on May 21, 2020, to report the crime.
26 B.       The Money Laundering Conspiracy
27          11.      FBI interviewed the Victims and then contacted an investigator with Chase
28 Bank. The investigator advised FBI that R.C. had used the funds to purchase 12 cashier’s

     Verified Complaint for Forfeiture in Rem - 3                                  UNITED STATES ATTORNEY
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     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
                       Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 4 of 9




 1 checks. Two of the checks—one in the amount of $30,000 and one in the amount of
 2 $20,000—were deposited into Wells Fargo account ending in -4200, held in the name of
 3 C.H. with an associated address in League City, Texas.
 4              12.      FBI interviewed R.C. on May 21 and May 22, 2021. R.C. explained that he
 5 had been assisting someone named Francis, a Florida resident, with the transfer of money
 6 for several years. R.C. further explained that he was promised $3 million dollars for his
 7 assistance with wiring funds to others. R.C. claimed to have lost approximately $70,000
 8 of his personal funds to the same activity. R.C. admitted that he has, at times, kept for
 9 himself small amounts of the money he received as part of the money transfers.
10              13.      After FBI advised R.C. regarding money laundering statutes and money
11 mule activity, R.C. agreed to cooperate with the investigation. R.C. surrendered his phone
12 and approximately $4,400 cash he had withdrawn with the intention of purchasing
13 prepaid credit cards. He also provided copies of several cashier’s checks he had
14 purchased with the Victims’ money.
15              14.      FBI then contacted Wells Fargo at one of its branches regarding the
16 $50,000 deposited into account ending in -4200. On May 21, 2020, Wells Fargo advised
17 that approximately $20,000 remained in the account; approximately $13,900 had been
18 transferred to Bank of America account ending in -8376; and $10,000 had been
19 transferred to Citibank account ending in -9724, both held in C.H.’s name.
20              15.      FBI contacted the residents of the address associated with Wells Fargo
21 account ending in -4200, who are relatives of C.H. During the interview, C.H.’s relatives
22 made the following assertions:
23                       a.     C.H. is currently living in Venezuela;
24                       b.     C.H. received $50,000 in exchange for the sale of bitcoin to
25                              LocalBitcoins 1 user Malinda101;
26
27
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         LocalBitcoins is a peer-to-peer bitcoin marketplace based in Helsinki, Finland.
         Verified Complaint for Forfeiture in Rem - 4                                   UNITED STATES ATTORNEY
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         United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
                                                                                         SEATTLE, WASHINGTON 98101
                                                                                               (206) 553-7970
                   Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 5 of 9




 1                   c.     C.H. had previously engaged in several transactions with Malinda101;
 2                          in payment for the bitcoin, Malinda101 provided images of two
 3                          cashier’s checks bearing the remitter name “R.C.”: one for $30,000
 4                          and another for $20,000;
 5                   d.     C.H. accepted the transaction, and the checks were deposited
 6                          automatically into his bank account via LocalBitcoins;
 7                   e.     once C.H. received the funds and accepted the transaction, he had 48
 8                          hours to release the bitcoin to Malinda101;
 9                   f.     prior to accepting the transaction, C.H. did not have enough bitcoin to
10                          complete the transaction, so he used the $50,000 he had received to
11                          purchase Tether coin using Binance, a cryptocurrency exchange; and
12                   g.     C.H. converted the Tether coin to bitcoin, combined it with some
13                          bitcoin he already had in his possession, and sent it to Malinda101 on
14                          May 21, 2021.
15          16.      On May 22, 2021, C.H., through his relatives, provided FBI with purported
16 receipts for the purchase of Tether coin described above. The receipts appear to show
17 $20,910 dollars sent in exchange for virtual currency. C.H. explained that he was entitled
18 to keep twelve percent (12%) of the transaction as a commission.
19          17.      FBI advised C.H., through his relatives, that the funds he received were the
20 proceeds of fraud and money laundering, and that any attempt to further access those
21 funds would be considered violations of federal money laundering statutes. As discussed
22 in more detail below, C.H. disregarded FBI’s warnings and continued to transfer the
23 tainted funds out of his account.
24          18.      On May 24, 2021, FBI learned that approximately $5,000 remained in
25 C.H.’s Wells Fargo account ending in -4200. Wells Fargo advised FBI that the bank had
26 voluntarily frozen those funds. Wells Fargo further advised that $19,000 in funds had
27 been transferred to C.H.’s Citibank account ending in -9724, and that Citibank had
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     Verified Complaint for Forfeiture in Rem - 5                                  UNITED STATES ATTORNEY
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     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
                   Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 6 of 9




 1 voluntarily frozen those funds as well. Funds in the Wells Fargo account had also been
 2 depleted via Zelle transfers.
 3          19.      Also on May 24, 2021, FBI spoke with a Bank of America representative
 4 who advised that, of the $13,900 transferred from C.H.’s Wells Fargo account ending in -
 5 4200 to C.H.’s Bank of America account ending in -8376, only $13,436.04 remained, but
 6 that pending transactions would reduce that amount by an additional $1,991.67.
 7          20.      On May 25, 2021, FBI spoke with a Citibank investigator who advised that
 8 the funds deposited into C.H.’s account ending in -9724 came from two personal checks
 9 made out in C.H.’s name, drawn from C.H.’s Wells Fargo account ending in -4200.
10          21.      The Citibank investigator further advised FBI that Citibank had voluntarily
11 frozen the remaining funds in account ending in -9724.
12          22.      The following represents the balance of and transactions for C.H.’s
13 Citibank account ending in -9724, from May 19, 2021, to May 25, 2021:
14          May 19, 2021 End of day balance: $10,102.51
15          May 20, 2021 $10,000 check deposited from Wells Fargo account -4200
            May 20, 2021 $14,000 outgoing wire to Bank of America account -2346
16          May 21, 2021 $9,000 check deposited from Wells Fargo account -4200
17          May 21, 2021 $6,910 outgoing wire to Bank of America account -2346
            May 24, 2021 $10,000 outgoing wire to Bank of America account -2346
18          May 25, 2021 Beginning of day balance: $15,653.40
19          23.   Bank of America account ending in -2346 is held in the name of M.X.G., a
20 limited liability company organized and existing under the laws of the State of Florida.
21          24.      The May 24, 2021, a $10,000 outgoing wire from C.H.’s Citibank account
22 -9724 to M.X.G.’s Bank of America account ending in -2346 occurred the business day
23 immediately following FBI’s May 22, 2021, interview of C.H., during which FBI
24 admonished C.H. for his apparent money laundering activity and warned C.H. that further
25 transfer of funds would be considered knowing violations of United States anti-money
26 laundering statutes. The $10,000 wire was the last of three wires to M.X.G.’s Bank of
27 America account ending in -2346, which totaled $30,910.
28

     Verified Complaint for Forfeiture in Rem - 6                                  UNITED STATES ATTORNEY
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     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
                   Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 7 of 9




 1          25.      On May 25, 2021, FBI spoke with a Bank of America investigator who
 2 advised that C.H.’s Bank of America account ending in -8376 had a then-pending balance
 3 of $13,916.01; that M.X.G.’s Bank of America account -2346 had a balance of
 4 $46,852.59; and that Bank of America had voluntarily frozen all those funds.
 5          26.      The United States applied for seizure warrants for funds in C.H.’s Wells
 6 Fargo, Citibank, and Bank of America accounts, and for funds in M.X.G.’s Bank of
 7 America account. The United States District Court for the Western District of
 8 Washington granted the United States’ applications. FBI executed the warrants on the
 9 following dates and seized the following amounts:
10                   a.     MC21-05014-DWC, executed on May 26, 2021, for $15,550.50 in
11                          United States funds in C.H.’s Citibank account ending in -9724;
12                   b.     MC21-05013-DWC, executed on May 27, 2021, for $583.13 in United
13                          States funds in C.H.’s Wells Fargo Bank account ending in -4200;
14                   c.     MC21-05016-DWC, executed on May 27, 2021, for $13,791.04 in
15                          United States funds in C.H.’s Bank of America account ending in -
16                          8376; and
17                   d.     MC21-05015-DWC, executed on June 29, 2021, for $30,910.00 in
18                          United States funds in M.X.G.’s Bank of America account ending in
19                          -2346.
20          27.      On August 19, 2021, FBI commenced administrative forfeiture of the
21 $30,910.00 in United States funds seized from Bank of America account ending in -2346.
22 The period for third parties to submit claims has ended, and no claims were filed.
23                                     V.       REQUEST FOR RELIEF
24          As required by Supplemental Rule G(2)(f), the facts set forth in this Verified
25 Complaint support a reasonable belief that the United States will be able to meet its
26 burden of proof at trial. More specifically, there is probable cause to believe that the
27 Defendant Funds are forfeitable pursuant to 18 U.S.C. §§ 981(a)(1)(A) and 981(a)(1)(C)
28 because they represent proceeds from violations of 18 U.S.C. § 1343 (wire fraud) and/or

     Verified Complaint for Forfeiture in Rem - 7                                  UNITED STATES ATTORNEY
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     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
                     Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 8 of 9




 1   property involved in violations of 18 U.S.C. $ 1956(a)(1)(BXD (money laundering)
 2   andlor 18 U.S.C. $ 1956(h) (money laundering conspiracy). Additionally, the Defendant
 a
 J   Funds are forfeitable pursuant to          l8 U.S.C. $ 984 because they constitute funds deposited
 4   in an account in a financial institution, which are identical to, and found in the same
 5   account as, the property involved in the offense that is the basis for the forfeiture, and
 6   because the United States has commenced this action within one year of the offense

 7   giving rise to forfeiture.
 8           WHEREFORE, the United States respectfully requests:
 9           1.       A warrant issue for the arrest of the Defendant Funds;
10           2.       That due notice be given to all interested parties to appear and show cause
1t                    why the Defendant Funds should not be forfeited;
l2           3.       The Defendant Funds be forfeited to the United States for disposition
13                    according to law; and,
t4           4.       For such other and furtherrelief as this Court may deem just and proper.
15

t6           DATED this 2nd day of December, 2021.
t7
18                                                        Respectfully submitted,
t9                                                        NICHOLAS W. BROWN
                                                          United States Afforney
20

2t
22
                                                          Assistant United States Attorney
L)
                                                          United States Attorney's Office
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25
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      Verified Complaint for Forfeiture in Rem -   8                                 T]NITED STATES ATTORNEY
                                                                                    700 SrEwARr STREET, SUITE 5220
      United States v. $ 15,550.50 in U.S. Funds and Any Acuued Interest, et al.
                                                                                     SEATTLE, WASHINGToN 98 1 O1
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                Case 2:21-cv-01625 Document 1 Filed 12/03/21 Page 9 of 9




 1                                                 VERIFICATION
 2          I, Spencer B. Walker, am a Special Agent with the Federal Bureau of Investigation
 3 in Seattle, Washington. I furnished the investigative facts contained in the foregoing
 4 Verified Complaint for Forfeiture in Rem. The investigative facts are based on personal
 5 knowledge I obtained from my involvement in the underlying investigation, my review of
 6 the relevant investigative material, other law enforcement officers involved in the
 7 investigation, other reliable official government sources, and my own training and
 8 experience.
 9        I hereby verify and declare, under penalty of perjury pursuant to 28 U.S.C.                      1746,
10 that I have read the foregoing Verified Complaint for Forfeiture in Rem, that I know its
11 contents, and that the facts it contains are true and correct to the best of my knowledge.
12
13          Executed this æ-.day              of November, 2021.
14

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16
                                                         SPENCER B. WALKER
17                                                       Special Agent
18
                                                         Federal Bureau of Investigation

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     Verified Complaint for Forfeiture in Rem- 9                                  UNITED STATES ATTORNEY
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     United States v. $15,550.50 in U.S. Funds and Any Accrued Interest, et al.
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